        Case 1:18-cv-10225-MLW Document 253 Filed 05/17/19 Page 1 of 3




                          UNITED   STATES   DISTRICT   COURT
                           DISTRICT OF MASSACHUSETTS


LILIAN       PAHOLA CALDERON   JIMENEZ
AND LUIS GORDILLO,        ET AL.,
individually and on behalf of all
others similarly situated,

        Petitioners-Plaintiffs,

               V.                                  C.A.   No.    18-10225-MLW


KEVIN McALEENAN,       ET AL.,

        Respondents-Defendants.




                                         ORDER


             WOLF, D.J.                                              May 17, 2019

        For the reasons stated in court on May 3,               2019 and May 16,

2019,    it is hereby ORDERED that:

        1.      Respondents' Motion to Dismiss (Docket Nos. 40 & 44) is

DENIED with respect to Counts 1             (Immigration and Nationality Act

and Applicable Regulations), 3 (Equal Protection under the United

States       Constitution),    and   4   (Administrative       Procedure   Act)   of

Petitioners' Amended Complaint (Docket No. 27). The court reserves

judgment on the contention that citizen spouses have a liberty

interest in remaining in the United States with their alien spouses

and, therefore, a right to Due Process before their alien spouses

are   removed.
      Case 1:18-cv-10225-MLW Document 253 Filed 05/17/19 Page 2 of 3




    2.      Petitioners' Motion for Class Certification (Docket No.

46) is ALLOWED. More specifically, for the purposes of Counts 1
(Inunigration and Nationality Act and Applicable Regulations), 3
(Equal Protection under the United States Constitution), and 4
(Administrative Procedure Act), the court certifies a class under
Federal Rule of Civil Procedure 23(b)(2), defined as:

     [A]ny United States citizen and his or her noncitizen
     spouse who (1) has a final order of removal and has not
     departed the United States under that order; (2) is the
     beneficiary of a pending or approved 1-130, Petition for
     Alien Relative,     filed by      the United States            citizen
     spouse; (3) is not "ineligible" for a provisional waiver
     under 8 C.F.R. § 212.7(e)(4)(i)              or    (vi); and    (4) is
     within    the   jurisdiction      of    Boston      Immigration    and
     Customs Enforcement-Enforcement and Removal Operations
     ("ICE-ERG") field office (comprising Massachusetts,
     Rhode Island, Connecticut, Vermont, New Hampshire, and
     Maine).

     The representatives of the class are Oscar Rivas, Celina
Rivera Rivas, Lucimar De Souza, Sergio Francisco, Deng Gao, and
Amy Chen.

     For the purposes of Count 2 (Due Process under the United
States Constitution, other than detention), the court certifies a
sub-class, defined as:

     [A]ny United States citizen and his or her noncitizen
     spouse who (1) has a final order of removal and has not
     departed the United States under that order; (2) is the
     beneficiary of an approved 1-130, Petition for Alien
     Relative, and conditionally approved 1-212, Application
     for Permission to Reapply for Admission into the United
     States After Deportation or Removal;       (3) is not
     "ineligible" for a provisional waiver under 8 C.F.R. §
     212.7 (e) (4) (i)   or   (vi) ;        and   (4)    is   within    the
          Case 1:18-cv-10225-MLW Document 253 Filed 05/17/19 Page 3 of 3




     jurisdiction of Boston ICE-ERO field office (comprising
     Massachusetts, Rhode Island, Connecticut, Vermont, New
     Hampshire, and Maine).

     3.      The parties shall,         by May 28,         2019,    confer and report

regarding       whether   they   have   agreed    to       settle    this   case    or    to

request    jointly that it be stayed.            The parties may also request

more time    to confer.


     If the case is to proceed, the parties shall address: whether

notice    should be   directed    to    class   members      under    Federal      Rule   of


Civil Procedure 23(c) (2) (A) and, if so, how; when the court should

decide    the    appropriate     definition      of    a    class    with   respect       to

petitioners'      detention-related claims            (Counts       5 and 6);   and the

nature of the limited discovery to be conducted by July 31, 2019.

If there are disagreements concerning the scope of such limited

discovery, the parties shall explain their respective positions.

     4.      The parties shall order the transcript of the May 16,

2019 hearing and lobby conference.




                                        UNITED OTATES         DISTRICT JUDGE
